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                   IN THE UNITED STATES DISTRICT COURT
              NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION

IN RE: James Carey                                  )       Case No.
                                                    )
                                                    )
      Plaintiff                                     )       COMPLAINT
                                                    )
                                                    )
v.                                                  )       July Demand Requested
                                                    )
      Statebridge Company, LLC                      )
      5680 Greenwood Plaza Blvd,                    )
      Suite 100                                     )
      Greenwood Village, CO 80111                   )
                                                    )
                                                    )
      Defendant                                     )
______________________________________________________________________
   Now come Plaintiff, by and through his attorneys, and, for his Complaint alleges as follows:

                                        INTRODUCTION
        1.     Plaintiff, James Carey, bring this action to secure redress from unlawful
               collection practices engaged in by Defendant, Statebridge Company, LLC.
               Plaintiffs allege violation of the Fair Debt Collection Practices Act, 15 U.S.C.
               Section 1692 et seq. (“FDCPA”).

        2.     The FDCPA, through 15 U.S.C. Section 1692g, requires that within five days of
               the initial communication for collection of debt, that a consumer be given the
               rights as outlined in 15 U.S.C. Section 1692g(a).

        3.     The FDCPA, through 15 U.S.C. Section 1692g(a)(2), requires Debt Collector to
               clearly and accurately tell Plaintiff who the creditor is that the debt is owed to.

        4.     The Seventh Circuit Court of Appeals stated in Millver v. McCalla, Raymer,
               Padrick, Cobb, Nichols & Carlk, LLC., 214 F.3d 872, 875 (7th Cir. 2000), that
               the FDCPA requires a debt collector to state “the amount of the debt” that they
               are trying to collect.
        5.     The Court in Miller spelled out safe harbor language for collecting debts that are
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       accuring interest or other fees after the date of the initial dunning letter. Id.
 6.    Following Miller, the Seventh Circuit Court of Appeals stated in Chuway v. Nat.
       Action Services, 362 F. 3d 944 (7th Cir. 2004), stated that if a Debt Collector is
       “trying to collect the listed balance plus the interest running on it or other
       charges, he should use the safe harbor language of Miller: As of the date of this
       letter, you owe $___[the exact amount due]. Because of interest, late charges,
       and other charges that may vary from day to day, the amount due on the day you
       pay may be greater. Hence, if you pay the amount shown above, an adjustment
       may be necessary after we receive your check, in which event we will inform
       you before depositing the check for collection For further information, write the
       undersigned or call 1-800-[phone number].” Id.



                      JURISDICTION AND VENUE
 7.    This court has jurisdiction pursuant to 28 U.S.C. Section 1331, 1337, 1367; and
       15 U.S.C. section 1692(d).
 8.    Venue is proper because a substantial part of the events giving rise to this claim
       occurred in this District.


                               PARTIES
 9.    Plaintiff, James Carey (hereinafter “Plaintiff”) incurred an obligation to pay
       money, the primary purpose of which was for personal, family, or household
       uses (the “Debt”).
 10.   Plaintiff is a resident of the State of Illinois.
 11.   While Plaintiff was in Default of the financial obligation to original creditor, the
       original creditor transferred the debt to the Statebridge Company, LLC
       (hereinafter “Statebridge”) ,making Defendant a “debt collector” within the
       meaning of 11 U.S.C. Section 1692a(6).
 12.   Unless otherwise stated herein, the term “Defendant” shall refer to Statebridge
       Company, LLC.
 13.   Defendant (“Statebridge”), is a Colorado business entity with an address of 5680
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       Green Plaza Blvd, Suite 100, Greenwood, Colorado 80111, operating as a
       collection agency, and is a “debt collector” as the term is defined by 15 U.S.C.
       Section 1692a(6).
 14.   Defendant uses instruments of interstate commerce for its principal purpose of
       business, which is the collection of debts.




                      ALLEGATIONS APPLICABLE TO ALL COUNTS


 15.   The Plaintiffs allegedly incurred a financial obligation from a deficiency from a
       judicial sale (the “Debt”).
 16.   The Debt arose from services provided by the Creditor which were primarily for
       family, personal or household purposes and which meets the definition of a
       “debt” under 15 U.S.C. Section 1692(a)(5).
 17.   The debt was transferred to Defendant while the Plaintiff was in default of his
       current obligation with the original creditor.
 18.   The Defendant is now the Debt Collector for the Plaintiff.
 19.   On or about April 20, 2020, it sent Plaintiff the first (initial) communication in an
       attempt to collect a debt.
 20.   Said letter lacks any of the required initial disclosures from 15 U.S.C. Section
       1692g(a); nor have any disclosures been sent by Defendant within five days of
       said letter. See Exhibit.
 21.   Said letter lists a debt of “$13,712.01.”
 22.   In the above stated amount, nothing indicates that said amount may increase.
       See Exhibit.
 23.   However, on the next page, Defendant provides a temporary payment coupon
       with places for interest and late fees.
 24.   Defendant is confused as to whether the debt is increasing or not.
 25.   Next, on May 9, 2020, Plaintiff received his “Debt Validation Letter.” See
       Exhibit B.
 26.   Nowhere in the letter did it state that it was a “Debt Collector” nor did it state
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        “this is an attempt to collect a debt and any information will be used for that
        purpose.” See Exhibit B
 27.    Said letter did state “[P]lease be advised that due to interest, late charges, and
        other charges that vary from day to day, the amount due on the date you make a
        payment, may actually be greater than the amount listed in the letter.” See
        Exhibit B.
 28.    On the paragraph below this, however, said letter states “[T]his letter is in now
        way intended as a payoff statement. It merely states the total amount of the debt
        currently due as of the date of this letter.”
 29.    The Plaintiff is totally confused as to the statement above: is this the amount due
        as of the date of the letter or is there something more, since it’s not a payoff.
 30.    Furthermore, there can be no late fees, in contradiction to what Defendant stated
        in paragraph 27 of this Complaint, since there are no fixed payments.
                                               STANDING

31.    Plaintiff has suffered an injury in fact that is traceable to Defendant's conduct and
       that is likely to be redressed by a favorable decision in this matter.
32.    Specifically, Plaintiff suffered a concrete informational injury as a result of
       Defendant's failure to provide truthful information in connection with its attempt
       to collect an alleged debt from Plaintiff.
33.    The Plaintiff has suffered and continues to suffer actual damages as a result of the
       Defendant’s unlawful conduct.
34.    As a direct consequence of the Defendant’s acts, practices and conduct, the
       Plaintiff suffered and continues to suffer from humiliation, anger, anxiety, and
       frustration.


                       VIOLATIONS OF THE FDCPA


 35.    Plaintiff incorporates paragraphs 1-30.
 36.    The Defendant’s conduct violated 15 U.S.C. Section 1692g by failing to advise
        Plaintiff of her rights, commonly known as the “Mini-Miranda” rights, within
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         five days of the initial communication.
 37.     The Defendant’s conduct violated 15 U.S.C. Section 1692e(11) by failing to state
         that it was a Debt Collector or that it is an “Attempt to collect a debt and any
         information will be used for that purpose.”
 38.     The Defendant’s conduct violated 15 U.S.C. Section 1692e by stating that “late
         fees” could be affecting the balance when in legality it was not.
 39.     The Defendant’s conduct violated 1692g by failing to state the actual balance of
         the debt.
 40.     The Defendant’s conduct violated 15 U.S.C. Section 1692g by confusing the
         Plaintiff as to whether the debt is increasing.
41.     Recently, the Seventh Circuit Court of Appeals stated that the “safe harbor”
        language given in Miller v. McCalla, Raymer Padrick, Cobb, Nichols, & Clark,
        LLC, 214 F.3d 872 (7th Cir. 2000) is not a defense to situations that can not legally
        come to pass. Recently, the Seventh Circuit Court of Appeals weighed into the
        statement in paragraph 24 that it is not a protection to use this language when an
        outcome is being suggested that is impossible to come to pass. Boucher v. Fin.
        Sys. Of Green Bay, Inc., No. 17-2308, (7th Cir., 2018).
42.     In the same Opinion, the Seventh Circuit Court of Appeals stated that Debt
        Collectors must tailor boiler plate language to avoid ambiguity. Id. at 371.
43.     Moreover, the Court in Boucher stated that a Debt Collector is not entitled to safe
        harbor language if it provides inaccurate language. Spuhler vs. State Collection
        Services, Inc., 18-cv-01149, (E.D. Wis. 2018)


                                       JURY DEMAND
44.    Plaintiff demands a trial by jury.
                                       PRAYER FOR RELIEF
45.     Plaintiff demands the following relief:
        a. Judgment against Defendant for Plaintiff’s actual damages, as determined at
            trial, suffered as a direct and proximate result of Defendant’s violations of the
            Fair Debt Collection Practices Act, pursuant to 15 U.S.C. Section 1692(a)(1);
        b. Judgment against Defendant for $1,000 in statutory damages for Defendant’s
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          violations of the Fair Debt Collection Practices Act, pursuant to Section
          1692(a)(2)(A);
       c. Judgment against Defendant for Plaintiff’s reasonable attorney’s fees and
          costs incurred in this action, pursuant to 15 U.S.C. Section 1692k(a)(3); and
       Any other legal and/or equitable relief as the Court deems appropriate.

                                                    Respectfully submitted,

                                                    /s/ John
                                            Carlin__________________
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